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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, Case No.: 20-cr-3107-WQH
v. ORDER TO UNSEAL INDICTMENT

HARGOBIND TAHILRAMANI,

Defendant.
IT IS HEREBY ORDERED that the above-captioned indictment and arrest warrant

be unsealed.

DATED: December 3, 2020
Whiz V. dalle
The Honorable William V. Gallo
United States Magistrate Judge

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SOUTHERN DISTRICT OF CALIFORNIA
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